Case 1:03-cV-01235-.]DB-tmp Document 32 Filed 05/06/05 Page 1 of 3 Page|D 59

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IN THE UNITED sTATEs DISTRICT COURT ` B/~\\ @_{-'j-
FoR THE WESTERN DISTRICT 0F TENNESSW mr “‘
EASTERN DlvlsION `5 PH g_. 47
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CLEP.'K QF, ':'V WOUO
PATRICK FLAYTER, WD_ gp D\_.»j. gler 07
\1\ §§ KS -
Plaimiff,
v. No. 03-1235-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

. §V~
IT IS SO ORDERED thls day of May, 2005.

”/

J. DANIEL BREEN`
NI ED sTATEs DISTRICT JUDGE

 

 

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with mile 58 and/or 79 (a) FHCP on m O@"OQ /CLS

 

F TENNESSEE

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Honorable J. Breen
US DISTRICT COURT

